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U.S. Department of Justice
United States Marshals Service:

 

Dia Metal nda C eae Sie oars 3
inh Metal Industrial Company, L1 t d 3:06-CV- - ,
vil Company Lee yeep ste BO AB

DEFENDANT TYPE OF PROCESS
Galt Porter, Bill Peirce, Cobra Sports, Dinli USE He Counter Plaintith Lee Bumett [Breach of Contract/Fraud
NAME OF INDIVIDUAL COMPaxer CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

SERVE J Dinli Metal Industrial Company, Lid.
AT ADDRESS (Street or RFD. Apartment No.. City. State and ZIP Code}

2007 Royal Lane #190, Dallas, Texas 75229
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW

 

 

Number of process to be
served with this Form 285 | 1

 

Kevin Perkins . ‘
Number of parties to b

Vanacour Perkins PLLC served in this case se 1

14675 Midway Road, Suite 100

Addison, Texas 75001

 

Check for service
on U.S.A.

 

 

 

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE flnelude Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):
Fold

 

Fold
Dinli USA, Inc. (Subsidiary) Chen Nan Ku (Agent) 7408 Sugar Maple, Irving, Texas 75063
Attorney/Agent Eric Fein, Esq. 15455 Dallas Parkway, Suite 1225, Addison, Texas 75001
Dinh, L.P. (Subsidiary) Chen Nan Ku (Agent) 5616 Corporate Blvd. Suite 400B, Baton Rouge, LA 70816

 

  

 

 

 

 

Signatuge of Atto iginator requesting service on behalf of: fe ANKE CAE WY TELEPHONE NUMBER DATE
he C1 DEFENDANT 972-865-6034 10/4/17
an
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE
f acknowledge receipt tor the total { Total Process | District of District to Signature-of Authorized USMS Deputy or Clerk Date
number of process indicated. Origi Serve ,
pmoareesiyon | 19 |27. WM Luho

 

 

 

 

 

 

 

Vhereby certify and return that [ 7 have personally served 2 have legal evidence of service, Ct) Kee executed as shown in "Remarks", the process described
on the individual , company, corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.
Zn

A I hereby certity and return that 1 am unable to locate the individual, company, corporation, ete. named above (See remarks below)

Name and tlle of individual served (ifnat shown above) Cla person of suitable age and discretion
then residing in defendant's usual place
of abode

a Time )
Melan
aD\5 \> LB. pm
iPhature of U.S. SD
Service Fee Total Mileage Charges} Forwarding Fee Total Charges Advance Deposits Amount owed to LS. Marshal* or
including endeavors) (Amount of Refund*)

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REMARKS) usr aw ep “W fender Svriie @ lLoedS Adiex. See
WOT = By “A Wee PARTWAS OF ERAS LEAS @ Avdeess.

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SHIWESes Dias |. CLERK OF THE COURT
>. USMS RECORD
3. NOTICE OF SERVICE Cun 1m
. BILLING STATEMENT™: To be returned to the U.S. Marshal with payment,

if any amount is owed. Please remit promptly payable to U.S. Marshal. Form USM-285
$. ACKNOWLEDGMENT OF RECEIPT yw

 

Address (complete only different than shown above}

 

 

 

 

 

 

 

 

 

 

 

PRIOR EDITIONS MAY BE USED

 

Rev. 12/80
